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                                      EXHIBIT 18
                  Affidavit of Richard D. Bush
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


DAVID S.L. PARKS
     Plaintiff,

      v.                                            3:09-CV-00604-VLB

THERESA LANTZ, et al.
    Defendants.                                     JUNE 3, 2014



                        AFFIDAVIT OF RICHARD D. BUSH


I, Richard D. Bush, being duly sworn, depose and says:

   1. I am over the age of eighteen and understand the obligations of an oath.

   2. I am a Health Services Administrator employed by the University of

      Connecticut Correctional Managed Health Care. In this capacity I supervise

      the operational and administrative aspects of medical services to inmates

      under the custody of the Connecticut Department of Correction ("DOC")

      who are housed at my assigned facility. I have held this position since

      March 2003.

   3. Correctional Managed Health Care is the entity that provides medical

      services to inmates via a contract with the DOC.

  4. The medical records of Connecticut inmates are maintained by

      Correctional Managed Healthcare and are the property of DOC. I have

      reviewed the plaintiff's medical records and provide the following factual

     statements based upon his records. The records referenced in this

      affidavit are true and accurate copies of the plaintiffs medical records.
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5. Dr. Lewis, a DOC psychiatrist, indicates in her note on 4/6/2006 that the

   plaintiff was not a candidate for Interferon, was "non-compliant with meds,"

   and was "labile, verbally assaultive, and paranoid." The plaintiff also

   demonstrated "lack of insight into [his] need for treatment and maintain[ed]

   a threatening posture with staff." The plaintiff "exhibit[ed] severe

   personality pathology as well as serious mental illness ... and exhibit[ed]

   signs of a psychotic [disorder]. In [the psychiatrist's] opinion, [the plaintiff]

   require]d] Mental Health Housing to optimize his condition." The note

   indicates that "once that condition is stabilized (if it is stabilized), [then]

   formal assessment for Interferon could be conducted." The psychiatrist

   referred the plaintiff to Mental Health Housing. See Exhibit 19, p. 1.

6. The plaintiff was cleared for a transfer on 4/16/2006 and transferred from

   MWCI to Garner Correctional Institution ("Garner") on 4/19/2006. See

   Exhibit 19, p. 2.

7. On 8/11/2006, the medical note indicates that Mental Health notified a DOC

   nurse that the plaintiff would transfer to MWCI that afternoon. See Exhibit

   19, p. 3.

8. The plaintiff transferred from Garner to MWCI on 8/11/2006. See Exhibit 9,

   RT60.

9. Licensed Clinical Social Worker (LCSW) Sara Cyr indicates in her note on

   8/24/2006 that the plaintiff's "mood [was] labile with increasing irritability"

   and demonstrated "speech pressured with paranoid content and

   threatening posture and facial expressions directed at DOC." The note also
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   indicates that the plaintiff was "preoccupied with DOC['s] 'conspiracy' to

   prevent litigation initiated by him." LCSW Cyr observed that the plaintiff

   "currently evidences signs of decompensation with mood lability/irritability

   and potential risk to self/others" and referred the plaintiff to mental health

   level 4 housing because of his "unstable mental status and risk to

   self/others." See Exhibit 19, pp. 4-5.

10. The plaintiff transferred from MWCI to Garner on 8/25/2006. See Exhibit 9,

   RT60.

11. LCSW Hashim indicates in his note on 10/3/2006 that the plaintiff "has

   functioned on a stable level for the majority of his stay [at Garner]." The

   note indicates that the plaintiff's "thought process [was] clear, organized,

   goal-oriented and reality based" and there was "no overt evidence of

   psychosis." See Exhibit 19, p. 6.

12.The plaintiffs mental health level was lowered to a 3 on 10/10/2006, see

   Exhibit 19, p. 11, Plaintiffs RT74, and was cleared by Mental Health to

   transfer from Garner to MWCI on 10/16/2006, see Exhibit 20, p. 14, Transfer

   History Record, 10/16/2006.

13. The plaintiffs medical chart indicates that the plaintiff presented symptoms

   consistent with rhabdomyolysis on 6/26/2007. Specifically, the UA dip stick

   showed traces of blood in his urine. This condition required the plaintiff to

   have fluids injected through intravenous ("IV"). Because Garner Cl did not

   have an infirmary capable of IV treatment, the plaintiff transferred to
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   Corrigan-Radgowski Correctional Institution ("Corrigan") on 6/26/2007. See

   Exhibit 19, p. 7.

14. The plaintiff's medical chart indicates that the plaintiff began IV treatment

   on 6/26/2007. Dr. Chouhan discontinued the plaintiffs IV treatment on

   6/27/2007 and ordered that the plaintiff may return to general population at

   his sending facility. See Exhibit 19, p. 8.

15. The plaintiff transferred from Corrigan to Garner on 6/28/2007. See Exhibit

   9, RT60.

16. Dr. Bogdanoff, PsyD indicates in his note on 8/20/2008 that the plaintiff was

   reviewed by the mental health team at Garner. The team determined that

   the plaintiff was appropriate for general population. The note indicates that

   the plaintiff had "no prominent psych issues." He further notes that "at

   [that] point in time [had] needs ... for medical attention over psychiatric

   issues" and had "[n]o need for [mental health] housing." The mental health

   team approved the plaintiff for transfer. See Exhibit 19, p. 9.

17. The plaintiff transferred from Garner to MWCI on 8/21/2008. See Exhibit 9,

   RT60.

18. The plaintiff transferred from Osborn to UCONN John Dempsey Hospital on

   3/13/2013 for medical treatment. See Exhibit 9, RT60.

19. The plaintiff transferred from UCONN John Dempsey Hospital to Osborn on

   3/14/2013. See Exhibit 9, RT60.
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                                              VERIFICATION

      I hereby swear that the foregoing is true and accurate to the best of my

knowledge and belief.




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Subscribl'!d and sworn to before me this ___;:___day of June, 2014.




                                                                                                    .t::m.J_..;
                                                             Commissioner of the Court                         ~

                                                                                     VALERIE BERNARDONI
                                                                                             Notary Publi~
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